        UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF NORTH CAROLINA


NORTH CAROLINA A. PHILIP                )
RANDOLPH INSTITUTE et al,               )
                                        )
                     Plaintiffs,        )
                                        )
              v.                        )             1:20CV876
                                        )
THE NORTH CAROLINA STATE                )
BOARD OF ELECTIONS et al                )
                                        )
                     Defendants.        )



                   NOTICE OF RESCHEDULING
                          HEARING
                                     =============

       TAKE NOTICE that a proceeding in this case has been RESET as indicated below:

       DATE & TIME:     March 7, 2024 – 10:00 a.m. via video conference
       PROCEEDING:      Oral Argument on Magistrate Judge’s Memorandum
                        Opinion and Recommendation
______________________________________________________________________________

John S. Brubaker, Clerk

By: /s/ Debbie Blay, Deputy Clerk

Date: February 28, 2024

TO:    ALL COUNSEL AND/OR PARTIES OF RECORD




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